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          EXHIBIT A
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          DATE
        COMPLAINT          NAME OF CASE             CASE NO. & JUDGE     COURT
          FILED
  1      4/14/2016       Moeller v. Am. Media,     5:16-cv-11367         E.D.
                         Inc.                      Judith E. Levy        Mich.
  2        5/29/2018     Horton v. Gamestop,       1:18-cv-00596         W.D.
                         Inc.                      Gordon J. Quist       Mich.
  3        1/30/2019     Kokoszki v. Playboy       2:19-cv-10302         E.D.
                         Enterprises, Inc.         Bernard A. Friedman   Mich.
  4        3/26/2019     Markham v. Nat’l
                         Geographic Partners,      1:19-cv-00232         W.D.
                         LLC                       Janet t. Neff         Mich.
  5        6/13/2019     Chelone v. Am.’s Test     2:19-cv-11757         E.D.
                         Kitchen LP                Terrence G. Berg      Mich.
  6        6/19/2019     Forton v. Ten: Pub.       1:19-cv-11814         E.D.
                         Media, LLC                Judith E. Levy        Mich.
  7        6/24/2019     Phillips v. Smithsonian   2:19-cv-11852         E.D.
                         Institution               Arthur J. Tarnow      Mich.
  8        6/25/2019     Lin v. Crain Comms,       2:19-cv-11889         E.D.
                         Inc.                      Victoria A. Roberts   Mich.
  9        6/27/2019     Strano v. The
                         Kiplinger Washington      1:19-cv-11913         E.D.
                         Editors, Inc.             Thomas L. Ludington   Mich.
  10       6/15/2021     Pratt v. KSE              1:21-cv-11404         E.D.
                         Sportsman Media           Thomas L. Ludington   Mich.
  11       8/4/2021      Taylor v. Guideposts A    2:21-cv-11791         E.D.
                         Church Corp.              Sean F. Cox           Mich.
  12       8/4/2021      Schilz v. Forbest         2:21-cv-11796         E.D.
                         Media LLC                 Gershwin A Drain      Mich.
  13       8/4/2021      Raymond v. Ogden          2:21-cv-11793         E.D.
                         Pub.                      Mark S. Goldsmith     Mich.
  14       8/4/2021      Gallagher v. EB Golf      2:21-cv-11795         E.D.
                         Media                     David M. Lawson       Mich.
  15       8/5/2021      Vanocker v. Found. for    1:21-cv-669           W.D.
                         Nat’l Progress            Hala Y. Jarbou        Mich.
  16       8/5/2021      Krassick v.
                         Archaeological Inst. of   2:21-cv-180           W.D.
                         Am.                       Hala Y. Jarbo         Mich.
  17       8/5/2021      Owen v. Kalmback          2:21-cv-11809         E.D.
                         Media Co.                 Mark S. Goldsmith     Mich.
  18       8/5/20221     Hamilton v. Harvard       4:21-cv-11808         E.D.
                         Bus. Pub. Corp.           Stephanie D. Davis    Mich.
  19       8/5/2021      Green v. PGA Mag.         2:21-cv-11810         E.D.
                                                   Victoria A. Roberts   Mich.
  20       8/5/2021      Ulsh v. Farm J., Inc.     1:22-cv-00686         W.D.
                                                   Hala Y. Jarbou        Mich.
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  21       8/5/2021      Fotis v. This Old        2:21-cv-00180            W.D.
                         House Ventures, LLC      Hala Y. Jarbou           Mich.
  22       8/5/2021      Loftus v. Outside        2:21-cv-11809            E.D.
                         Integrated Media         Mark S. Goldsmith        Mich.
  23       8/5/2021      Devroy v. Annie’s        2:21-cv-11815            E.D.
                         Pub., LLC                Terrence G. Berg         Mich.
  24       8/5/2021      Kain v. Economist        4:21-cv-11807            E.D.
                         Newspaper                Matthew Leitman          Mich.
  25       8/5/2021      Hester v. Plus           1:21-cv-671              W.D.
                         Communications           Hala Y. Jarbou           Mich.
  26       9/17/2021     Bennett v. Penny         1:21-cv-00807            W.D.
                         Publications             Hala Y. Jarbou           Mich.
  27       9/27/2021                              1:21-cv-12191            E.D.
                         Hill v. 1105 Media,      Thomas L. Ludington      Mich.
                         Inc.
  28       9/28/2021                              1:21-cv-12285            E.D.
                         Shye v. Bookspan LLC     Thomas L. Ludington      Mich.
  29       12/3/2021     Callahan v. Am. City     3:21-cv-12832            E.D.
                         Bus. J., Inc.            Robert H. Cleland        Mich.
  30       12/7/2021     Eberhardt v.             2:21-cv-12849            E.D.
                         Newsweek LLC             George C. Steeh, III     Mich.
  31      12/14/2021     Kelly v. Allee Group     4:21-cv-12910            E.D.
                         LLC                      Stephanie D. Davis       Mich.
  32      12/21/2021     Ouellette v.
                         Entrepreneur Media,      1:21-cv-11799            E.D.
                         Inc.                     Thomas L. Ludington      Mich.
  33      12/22/2021     Ketover v. Kiplinger     1:21-cv-12987            E.D.
                         Washington               Thomas L. Ludington      Mich.
  34      12/22/2021     Delvalle v. Am. Master   2:21-cv-12986            E.D.
                         Products, Inc.           Stephanie D. Davis       Mich.
  35       2/15/2022     Custard v. Mansueto      1:22-cv-10318            E.D.
                         Ventures LLC             Matthew F. Leitman       Mich.
  36       2/17/2022     Russett v. NTVB Media    5:22-cv-10352            E.D.
                         Inc.                     Judith E. Levy           Mich.
  37       3/24/2022     Nashel v. The New        2:22-cv-10633            E.D.
                         York Times Company       Stephen J. Murphy, III   Mich.
  38       3/28/2022     Custard v. The Week      1:22-cv-10666            E.D.
                         Publications, Inc.       Thomas L. Ludington      Mich.
  39       3/31/2022     Bozung v.                1:22-cv-00304            W.D.
                         Christianbook, LLC       Hala Y. Jarbou           Mich.
  40       3/31/2022                              4:22-cv-10685            E.D.
                         Batts v. Gannett Co.     Shalina D. Kumar         Mich.
  41       5/3/2022      Meahl v. The Nation      1:22-cv-00402            W.D.
                         Company, LLC             Hala Y. Jarbou           Mich.
  42       5/17/2022     Taylor v. Active Int.    1:22-cv-00447            W.D.
                         Media, Inc.              Hala Y. Jarbou           Mich.
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  43       5/18/2022     Lessenberry v. Council    2:22-cv-11077         E.D.
                         on Foreign Rels, Inc.     Gershwin A. Drain     Mich.
  44       5/20/2022     Lilly v. Sandviks, Inc.   2:22-cv-11104         E.D.
                                                   Terrence G. Berg      Mich.
  45       5/20/2022     Murray v. Nat’l Ass’n     2:22-cv-11107         E.D.
                         of Realtors               Sean F. Cox           Mich.
  46       5/30/2022     Taylor v. Belvoir         1:22-cv-00477         W.D.
                         Media Group, LLC          Hala Y. Jarbou        Mich.
  47       5/30/2022     Gaines v. Nat’l           5:22-cv-11173         E.D.
                         Wildlife Fed’n            Judith E. Levy        Mich.
  48       6/8/2022      Osborn v. B.A.S.S.,       1:22-cv-00520         W.D.
                         LLC                       Hala Y. Jarbou        Mich.
  49       6/8/2022      Crane v. Am. Bar          2:22-cv-11267         E.D.
                         Ass’n                     Terrence G. Berg      Mich.
  50       6/10/2022     Davis v. Equine           2:22-cv-11289         E.D.
                         Network, LLC              Nancy G. Edmunds      Mich.
  51       6/10/2022     Nock v. Boardroom,        2:22-cv-11296         E.D.
                         Inc.                      Bernard A. Freidman   Mich.
  52       6/10/2022     O’Shea v. Nat’l           5:22-cv-11295         E.D.
                         Review, Inc.              Judith E. Levy        Mich.
  53       6/13/2022     Mitchell v. Magnificat,   1:22-cv-11299         E.D.
                         Inc.                      Matthew F. Leitman    Mich.
  54       6/14/2022     Fotis v. This Old         1:22-cv-00549         W.D.
                         House Ventures, LLC       Hala Y. Jarbou        Mich.
  55       6/15/2022     Prestel v. Christianity   1:22-cv-00551         W.D.
                         Today Int’l               Hala Y. Jarbou        Mich.
  56       6/15/2022     R.R. v. Highlights for    1:22-cv-11329         E.D.
                         Child., Inc.              Bernard A. Freidman   Mich.
  57       6/15/2022     Goodrich v. Essence       2:22-cv-11322         E.D.
                         Comms, Inc.               Sean F. Cox           Mich.
  58       6/15/2022     Campbell v. Jobson        2:22-cv-11326         E.D.
                         Med. Info. LLC            Laurie J. Michelson   Mich.
  59       6/17/2022     Rubin v. Source Media     2:22-cv-11361         E.D.
                         LLC                       Matthew F. Leitman    Mich.
  60       6/21/2022     DelValle v. Informa       2:22-cv-00132         W.D.
                         Media, Inc.               Hala Y. Jarbou        Mich.
  61       6/22/2022     Pett v. Publishers        2:22-cv-11389         E.D.
                         Clearing House, Inc.      Denise P. Hood        Mich.
  62       6/23/2022     Kochanski v. Am. City     1:22-cv-00582         W.D.
                         Bus. J., Inc.             Hala Y. Jarbou        Mich.
  63       6/23/2022     Moore v. Columbia         1:22-cv-00583         W.D.
                         Books Inc.                Hala Y. Jarbou        Mich.
  64       6/24/2022     Knoll v. Farm Show        1:22-cv-11379         E.D.
                         Pub., Inc.                Thomas L. Ludington   Mich.
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  65       7/22/2022     Sharper v. Randall-      2:22-cv-11691          E.D.
                         Reilly, LLC              Bernard A. Freidman    Mich.
  66       7/23/2022     Slodowski v. CCG         1:22-cv-11697          E.D.
                         Ventures, Inc.           Thomas L. Ludington    Mich.
  67       7/24/2022     McGlade v. Hoffman       2:22-cv-11698          E.D.
                         Media, LLC               Terrence G. Berg       Mich.
  68       7/30/2022     White v. Newsmax         5:22-cv-11765          E.D.
                         Media, Inc.              Judith E. Levy         Mich.
  69       8/3/2022      Kotila v. Charter Fin.   1:22-cv-00704          W.D.
                         Pub. Network, Inc.       Paul L. Maloney        Mich.
  70       8/10/2022     Kosak v. New York        2:22-cv-11850          E.D.
                         Media Holdings Corp.     Matthew F. Leitman     Mich.
  71       8/12/2022     Winarski v. Biblical     1:22-cv-11881          E.D.
                         Soc’y, Inc.              Thomas L. Ludington    Mich.
  72       8/15/2022     Emral v. Bobit Music     1:22-cv-00741          W.D.
                         Bus. Media, Inc.         Robert J. Jonker       Mich.
  73       8/16/2022     Bujak v. Q11             3:22-cv-11918          E.D.
                         Associates, LLC          Robert H. Cleland      Mich.
  74       8/30/2022     White v. Frank W.
                         Cawood & Associates,     2:22-cv-12032          E.D.
                         Inc.                     Bernard A. Friedman    Mich.
  75       8/31/2022     Johnson v. Harvard       1:22-cv-00802          W.D.
                         Bus. Pub. Corp.          Hala Y. Jarbou         Mich.
  76       8/31/2022     Clarke v. Columbia       1:22-cv-00803          W.D.
                         Books, Inc.              Jane M. Beckering      Mich.
  77       8/31/2022     Holmes v. Soundview      3:22-cv-12061          E.D.
                         Comm., Inc.              Robert H. Cleland      Mich.
  78       9/12/2022     Murphy v. Active Int.    4:22-cv-12159          E.D.
                         Media, Inc.              David M. Lawson        Mich.
  79       9/12/2022     Lee v. Belvoir Media     5:22-cv-12153          E.D.
                         Group, LLC               Shalina D. Kumar       Mich.
  80       9/16/2022     Henderson v. Ctr. for    1:22-cv-00856          W.D.
                         Sci. in the Pub. Int.    Hala Y. Jarbou         Mich.
  81       9/16/2022     Henderson v. Ctr. for    2:22-cv-12191          E.D.
                         Sci. in the Pub. Int.    Bernard A. Friedman    Mich.
  82       9/19/2022     Gottsleben v. Informa    1:22-cv-00866          W.D.
                         Media, Inc.              Hala Y. Jarbou         Mich.
  83       9/26/2022     Schreiber v. Mayo
                         Found. for Med. Edu.     2:22-cv-188            W.D.
                         And Res.                 Hala Y. Jarbou         Mich.
  84       9/27/2022     Williams v. CCG          2:22-cv-12282          E.D.
                         Ventures, Inc.           Terrence G. Berg.      Mich.
  85       9/27/2022     Wissmueller v. Cricket   2:22-cv-12284          E.D.
                         Media Inc.               George C. Steeh, III   Mich.
  86       9/30/2022     Auberry v. Fastest       2:22-cv-12426          E.D.
                         Media LLC                Bernard A. Friedman    Mich.
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  87       9/30/2022                           2:22-cv-12332            E.D.
                         Jaja v. Afar LLC      Denise P. Hood           Mich.
  88       10/4/2022     Kasul v. Madavor      1:22-cv-914              W.D.
                         Media LLC             Hala Y. Jarbou           Mich.
  89      10/28/2022     Crane v. The New York 2:22-cv-12603            E.D.
                         Times Company         Stephen J. Murphy, III   Mich.
  90       11/4/2022     Roberts v. Newsmax    1:22-cv-1036             W.D.
                         Media Inc.            Hala Y. Jarbou           Mich.
